                      IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                                        3:05cr390


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                    ORDER
                                         )
DANIEL LAMONT FEASTER (4)                )
________________________________________ )


        THIS MATTER is before the Court upon motion of the defendant pro se for removal of a

federal detainer or transfer to a federal facility. (Doc. No. 308).

        The defendant was sentenced to seventy months’ imprisonment to be served concurrently

with an undischarged state sentence. (Doc. No. 293: Judgment). The defendant complains that the

federal detainer is resulting in the loss of benefits withing the North Carolina Department of

Corrections. The defendant has not shown that the detainer was unlawfully lodged or that he is

suffering constitutional deprivations; therefore, he has not established that this Court is authorized

to provide relief.

        In the alternative, the defendant seeks immediate transfer to a federal facility. The

defendant has not shown that his state sentence has expired. Even though the defendant’s federal

sentence is to be served concurrently with his state sentence, the Court does not have the authority

to order the facility of incarceration. See 18 U.S.C. § 3621; and United States v. Evans, 159 F.3d

908, 912 (4th Cir. 1998) (authority to designate place of confinement vested in BOP).

        IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.




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       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals service, and the United

States Probation office.

                                                  Signed: January 23, 2009




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